UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GLOBAL GAMING PHILIPPINES, LLC,

                Plaintiff,
                                                   No. 21 Cv. 2655 (LGS)(SN)
        vs.

 ENRIQUE K. RAZON, JR.; et al.,

                Defendants.



   NOTICE OF PLAINTIFF GLOBAL GAMING PHILIPPINES, LLC’S MOTION TO
              EXCLUDE TESTIMONY OF CATHERINE ROGERS


       PLEASE TAKE NOTICE that Plaintiff Global Gaming Philippines, LLC (“GGAM”),

upon the accompanying Memorandum of Law and the Declaration of Kevin N. Ainsworth and

exhibits thereto, by and through their counsel, will move this Court for an order pursuant to Federal

Rules of Evidence 104, 401, 402, and 702 to exclude the report and testimony of Catherine Rogers,

offered by Defendants Bloomberry Resorts and Hotels, Inc. (“BRHI”), and Sureste Properties, Inc.

(“SPI” or “Sureste”). This motion is made following the conference of counsel, which took place

on November 7, 2015.
Dated: November 15, 2022    Respectfully submitted,
       New York, New York
                            MINTZ, LEVIN, COHN, FERRIS,
                            GLOVSKY AND POPEO, P.C.

                            /s/ Kevin N. Ainsworth
                            Kevin N. Ainsworth
                            Jason P.W. Halperin
                            Daniel T. Pascucci
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                            Global Gaming Philippines, LLC




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